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HIGHLY SENSITIVE DOCUMENT SI S
AO 91 (Rev. 11/11) Criminal Complaint ,

UNITED STATES DISTRICT COURT
for the

District of Massachusetts

 

 

 

 

 

United States of America v. )
Vladislav Dmitriyevich Klyushin, a/k/a Vladislav Kliushin, ) C
lvan Sergeyevich Ermakov, a/k/a lvan Yermakov, ) ase No.
Igor Sergeevich Sladkov, ) 21-MJ-2090 (MBB) (under seal)
Mikail Vladimirovich Irzak, a/k/a Mikka Irzak, and )
Nikolai Mikhaylovich Rumiantcev, a/k/a Nikolay Rumyantsev
Defendant(s}
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 2018 to 2020 in the county of Suffolk in the
District of Massachusetts , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 371 Conspiracy to commit computer intrusion, wire fraud, and securities fraud,

contrary to 18 U.S.C. §§ 1030(a}(4) & 1343 ang 0 _ 5.C. §§ 78j(b) and
78if(a). OCK

This criminal complaint is based on these facts:

SEE ATTACHED AFFIDAVIT OF SPECIAL AGENT BJ KANG

wf Continued on the attached sheet.

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Complainant s Sigittty eo

FBI SPECIAL AGENT. gine

Py ‘inted namie fe ad title, *

 

   

Sworn to me telephonically.

Hands 20, 20°
Date: “SIZ T2802 Os -o\ Py

City and state: BROOKLINE, MASSACHUSETTS SONGRAHUE WARIANNE wiisednen U.S.M.J.
Printed name and title

 
